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 8
                                UNITED STATES DISTRICT COURT
 9
10                                    DISTRICT OF ARIZONA

11   In Re Bard IVC Filters Products                 No. MD-15-02641-PHX-DGC
     Liability Litigation
12                                                   PLAINTIFFS’ OMNIBUS
                                                     STATEMENT OF LAW AND
13                                                   GENERALLY-APPLICABLE
                                                     ARGUMENTS IN OPPOSITION TO
14                                                   BARD’S MOTIONS TO EXCLUDE
                                                     PLAINTIFFS’ EXPERTS UNDER
15                                                   RULE 702 AND DAUBERT

16
17          Plaintiffs hereby submit their omnibus statement of the applicable law and
18   generally-applicable arguments in opposition to Defendants’ various motions to exclude
19   the opinions of Plaintiffs’ experts under Fed. R. Evid. 702. Pursuant to the Court’s
20   instructions in CMO 26 (Doc. 6799), the purpose of this submission is to streamline the
21   case-specific bellwether Rule 702/Daubert briefing by addressing general issues once,
22   herein, and then incorporating by reference those arguments into the expert-specific
23   response briefs.
24    I.    THE LAW APPLICABLE TO ALL RULE 702/DAUBERT MOTIONS.
25          Rule 702 of the Federal Rules of Evidence governs the admissibility of expert
26   testimony:
27
            If scientific, technical, or other specialized knowledge will assist the trier of
28          fact to understand the evidence or to determine a fact in issue, a witness
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 1          qualified as an expert by knowledge, skill, experience, training or education,
            may testify thereto in the form of an opinion or otherwise.
 2
     Fed. R. Evid. 702; see also Daubert v. Merrell Dow Pharms., Inc., 509 U.S. 579 (1993).
 3
     If the proffered expert’s opinions rests on a reliable foundation and are helpful to the jury,
 4
     the expert’s testimony is admissible. City of Pomona v. SQM North America Corp., 750
 5
     F.3d 1036, 1043 (9th Cir. 2014); see also Placencia v. I-Flow Corp., No. CV10-2520
 6
     PHX DGC, 2012 WL 5877624, at *8 (D. Ariz. Nov. 20, 2012) (describing the Rule
 7
     702/Daubert standard).
 8
            Daubert intended to loosen, not tighten, the rules governing admission of expert
 9
     testimony, 509 U.S. at 588, and the court’s inquiry into admissibility “is a flexible one,”
10
     Alaska Rent-A-Car, Inc. v. Avis Budget Grp., Inc., 738 F.3d 960, 969 (9th Cir. 2013).
11
     Exclusion is not favored but rather “[v]igorous cross-examination, presentation of
12
     contrary evidence, and careful instruction on the burden of proof are the traditional and
13
     appropriate means of attacking shaky but admissible evidence.” Placencia, 2012 WL
14
     5877624 at *12 (quoting Daubert, 509 U.S. at 596; quotation marks omitted).
15
            The focus of the Daubert inquiry must be solely on the principles and methodology
16
     the expert followed, not the conclusions they generate. Daubert, 509 U.S. at 595. For
17
     that reason, the district court must not decide whether the expert is right or wrong, but
18
     whether the expert’s testimony “has substance such that it would be helpful to a jury.”
19
     Alaska Rent-A-Car, Inc., 738 F.3d at 969-70. As this Court observed, “In serving its
20
     gatekeeping function, the court must be careful not to cross over into the role of
21
     factfinder. It is not the job of the court to insure that the evidence heard by the jury is
22
     error-free, but to insure that it is not wholly unreliable.” Bernal v. Daewoo Motor, No.
23
     CV09-1502 PHX-DGC, 2011 WL 2174890, at *18 (D. Ariz. June 2, 2011) (quotation
24
     marks and citation omitted)); see also Placencia, 2012 WL 5877624 at *12 (noting that
25
     “[n]either Daubert nor Rule 702 demands absolute evidence of causation before an
26
     expert’s testimony can be admitted”).
27
28

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 1          Courts should not apply standards that are more exacting than those scientists apply
 2   in their work outside the courtroom; rather, they should assess whether the challenged
 3   opinion “falls within the range of accepted standards governing how scientists conduct
 4   their research and reach their conclusions.” Daubert v. Merrell Dow Pharms., Inc., 43
 5   F.3d 1311, 1317 (9th Cir. 1995) (“Daubert II”). Like science in other contexts, studies
 6   and research relied on or conducted by scientific or technical experts in litigation are not
 7   required by Daubert to be flawless and certain. See Federal Judicial Center, Reference
 8   Manual on Scientific Evidence 553 (3d ed. 2011). “[A]ll studies have ‘flaws’ in the sense
 9   of limitations that add uncertainty about the proper interpretation of the results. Some
10   flaws are inevitable given the limits of technology, resources, the ability and willingness
11   of persons to participate in a study, and ethical constraints.” Id. (citing In re
12   Phenylpropanolamine (PPA) Prods. Liab. Litig., 289 F. Supp. 2d 1230, 1240 (W.D.
13   Wash. 2003) (quoting Reference Manual and criticizing defendant’s “ex post facto
14   dissection” of a study); In re Orthopedic Bone Screw Prods. Liab. Litig., MDL No. 1014,
15   1997 WL 230818, at *8 (E.D. Pa. May 5, 1997) (holding that despite potential for several
16   biases in a study that “may . . . render its conclusions inaccurate,” the study was
17   sufficiently reliable to be admissible); Joseph L. Gastwirth, Reference Guide on Survey
18   Research, 36 Jurimetrics J. 181, 185 (1996) (review essay) (“One can always point to a
19   potential flaw in a statistical analysis.”)).
20          Throughout its briefs, Bard demands that the Court mechanically apply every one
21   of Daubert’s list of factors for assessing reliability to nearly every single Plaintiffs expert.
22   But the Supreme Court emphasized that these factors were not intended to be a “definitive
23   checklist or test.” Daubert, 509 U.S. at 593. District courts have flexibility to apply the
24   Daubert factors, which are intended to be “exemplary, not constraining.” Murray v. S.
25   Route Mar. SA, ___ F. 3d. ___, ___, No. 14-36056, 2017 WL 3758326, at *5 (9th Cir.
26   Aug. 31, 2017) (citing Kumho Tire Co. v. Carmichael, 526 U.S. 137, 150 (1999)); see
27   also Alaska Rent-A-Car, Inc., 738 F.3d at 969 (noting that the Rule 702 factors “make[]
28   the task of determining admissibility sound more mechanical and less judgmental than it

                                                     3
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 1   really is”); Primano v. Cook, 598 F.3d 558, 564 (9th Cir. 2010) (noting that the Daubert
 2   “list of factors was meant to be helpful, not definitive” (quotation marks omitted; quoting
 3   Kumho Tire, 526 U.S. at 151)). These suggested factors for courts to consider are not
 4   “equally applicable (or applicable at all) in every case” or to every expert. Daubert II, 43
 5   F.3d at 1317. “Because of the fluid and contextual nature of the inquiry, district courts are
 6   vested with broad latitude to decide how to test an expert’s reliability and whether or not
 7   an expert’s relevant testimony is reliable.” Murray, ___ F. 3d at ____, 2017
 8   WL3758326, at *5 (quoting Kumho Tire Co., 526 U.S. at 150, 152-153; alterations,
 9   citations, and quotation marks omitted). The applicability of different types of tests for
10   reliability “depends on the nature of the issue, the expert’s particular expertise, and the
11   subject of his testimony,” and a “district court may permissibly choose not to examine
12   factors that are not reasonable measures of reliability in a particular case.” Id.
13          When evaluating the expert testimony of physicians in particular, courts should
14   broadly admit medical expert testimony if it is useful and reliable “but it need not be
15   conclusive because medical knowledge is often uncertain.” Primiano v. Cook, 598 F.3d
16   558, 565 (9th Cir. 2010), as amended (Apr. 27, 2010) (quotation marks omitted). “Where
17   the foundation is sufficient, the litigant is entitled to have the jury decide upon the experts’
18   credibility, rather than the judge.” Id. (alterations and quotation marks omitted). A
19   physician’s testimony does not have to rely soley on opinions developed independent of
20   litigation, peer-reviewed publications, or animal or epidemiological studies to be
21   admissible. Expert physician testimony can be (and often is) based on an expert’s clinical
22   experience. Wendell v. GlaxoSmithKline LLC, 858 F.3d 1227, 1235-37 (9th Cir. 2017)
23   (reversing district court’s grant of motions to exclude plaintiff’s causation experts).
24   Excluding a physician expert because the expert’s opinion was based on clinical
25   experience is an abuse of discretion. Id. at 1237 (reversing district court’s grant of
26   motions to exclude Plaintiff’s causation experts; “Where, as here, two doctors who stand
27   at or near the top of their field and have extensive clinical experience with the rare disease
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 1   or class of disease at issue, are prepared to give expert opinions supporting causation, we
 2   conclude that Daubert poses no bar based on their principles and methodology.”).
 3   II.    ARGUMENTS GENERALLY APPLICABLE TO ALL OR SEVERAL
 4          BARD MOTIONS

 5          A.     Plaintiffs’ physician experts are allowed to testify about what a
                   “reasonable physician” would have expected.
 6
           Bard maintains that no expert may testify that they and their colleagues reasonably
 7
     expected Bard to provide accurate and up-to-date information to physicians about the risks
 8
     of its IVC filters because there is no written standard that defines what a “reasonable
 9
     physician” would do with this information. And Bard further argues that Plaintiffs’
10
     experts cannot point to a peer-reviewed study to support all of their conclusions. Bard’s
11
     arguments are without merit.
12
           Physician expert witnesses routinely opine about what a “reasonable doctor” would
13
     have done or what a reasonable physician would have expected in a particular situation in
14
     medical malpractice and many other types of litigations. Indeed, Arizona law requires
15
     such expert testimony as a predicate for filing a medical malpractice action or any other
16
     lawsuit against a licensed professional. See A.R.S. §§ 12-2602, -2603. But without citing
17
     any authority, Bard argues that the “reasonable physician” standard in this case is different
18
     than in a medical malpractice case. Bard is mistaken. The type of expert testimony
19
     required for a product liability case involving warning defects is no different than in a
20
     medical malpractice case, particularly on the subject of informed consent. See Exhibit 1
21
     hereto, Deposition of Mark W. Moritz, M.D., July 18, 2017 (“Moritz Dep.”) at 43:6-
22
     44:22; 52:8-19 (Bard expert testifying that reasonable expectations of doctors, the medical
23
     community and patients are that medical device manufacturers will be open and honest
24
     and provide complete, accurate, and thorough information about their devices so that
25
     doctors and patients can discuss likelihood of risks with the device as part of informed
26
     consent process); see also id. at 66:7-16, 71:6-24 (doctors and patients have reasonable
27
     expectations that medical device will be as safe and effective as predicate device); id. at
28

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 1   85:12-86:3 (Dr. Moritz saw in reviewing Plaintiffs’ experts’ reports Bard internal
 2   documents describing serious injuries and deaths and those are documents that would be
 3   important to medical doctors in making decisions to use Bard’s IVC filters). In both kinds
 4   of cases, the expert witness is offering his or her opinion on how a doctor should or would
 5   respond to a certain situation. And the foundation for a medical expert’s opinion is the
 6   same, including professional guidelines, clinical experience and education, peer-reviewed
 7   literature, and interactions with colleagues in the relevant community. See Primiano v.
 8   Cook, 598 F.3d 558, 567 (9th Cir. 2010) (holding that physician’s testimony must be
 9   admitted based on his background, experience, and explanation of his opinion). Rule
10   702/Daubert cannot be used to justify the exclusion of an expert’s standard of care
11   opinions in a medical malpractice case—or a lawyer expert’s standard of care opinion in a
12   legal malpractice case—just because the physician or lawyer expert can’t point to a peer-
13   reviewed survey of physicians or lawyers nationwide to support their opinion. See Saint
14   Alphonsus Med. Ctr.- Nampa, Inc. v. St. Luke’s Health System, Ltd., No. 1:12-CV-00560-
15   BLW, 2014 WL 407446, at *18 (D. Idaho Jan. 24, 2014) (basing conclusion of law on
16   defense expert’s testimony that “all physicians” at the defendant-hospital needed to obtain
17   access to the hospital’s electronic health record system in order to perform their duties);
18   see also Daubert, 509 U.S. at 593 (holding that “publication (or lack thereof) in a peer
19   reviewed journal” is a relevant but not dispositive factor in evaluating admissibility of
20   expert testimony); cf. United States v. Hankey, 203 F.4d 1160, 1169 (9th Cir. 2000)
21   (permitting police officer to testify about gang membership and tenets because
22   information he relied upon in reaching his conclusions was “of the type normally obtained
23   in his day-to-day police activity.”)
24          B.     Plaintiffs’ experts are permitted to base their opinions in part on other
25                 experts’ testimony.

26          Because this litigation focuses on the design, development, and marketing of

27   Bard’s IVC filters and involves so many different technical and scientific disciplines,

28   many of Plaintiffs’ experts rely on the reports of other experts for background and data.

                                                   6
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 1   In particular, the Rule 26 report of Plaintiffs’ regulatory expert Dr. David Kessler—which
 2   includes a detailed history of Bard’s filters—serves as a source of underlying information
 3   for other Plaintiff experts in developing their own opinions. There is nothing improper
 4   about this practice. In complex cases where the parties offer opinions of multiple experts,
 5   it is not uncommon for an expert to base an opinion in part on the testimony of other
 6   expert witnesses with more specialized knowledge. In re Toyota Motor Corp. Unintended
 7   Acceleration Mktg., Sales Practices, and Prods. Liab. Litig., 978 F. Supp. 2d 1053, 1066
 8   (C.D. Cal. 2013) (holding that “expert opinions may find a basis in part on what a
 9   different expert believes on the basis of expert knowledge not possessed by the first
10   expert” (internal quotation marks omitted)). Such testimony is admissible as long as the
11   expert does not merely act as a conduit for the other expert’s opinion and provided that the
12   record shows that the expert independently evaluated the evidence supporting the other
13   expert’s opinion. Id.; Jerpe v. Aerospatiale, No. CIV. S–03–555 LKK/DAD, 2007 WL
14   1394969, at *6 (E.D. Cal. May 10, 2007); Gray v. United States, No. 05cv1893 J(BLM),
15   2007 WL 4644736, at *8 (S.D. Cal. Mar. 17, 2007).
16          Plaintiffs’ experts primarily cite to the work of other experts for factual
17   background, in particular Dr. Kessler’s detailed recitation of the factual basis for his
18   opinions. Reliance by experts on facts and information provided by other experts to
19   formulate their opinions is unremarkable and has been approved in many different
20   contexts. See Mesfun v. Hagos, No. CV 03-02182 MMM (RNBx), 2005 WL 5956612, at
21   *18 (C.D. Cal. Feb. 16, 2005) (“Experts are permitted to rely on hearsay, including the
22   opinions of other experts, if proper foundation is laid that others in the field would
23   likewise rely on them.”). And to the extent any of Plaintiffs’ experts can be considered to
24   be relying on the opinions of Dr. Kessler or anyone else, as opposed to just factual
25   background or factual support in Dr. Kessler’s and other reports, they also considered a
26   wealth of other data for their opinions. See In re Toyota, 978 F. Supp. 2d at 1071 (finding
27   that plaintiff’s expert’s opinion was admissible because he reviewed other types of data,
28   not solely the opinions of other experts). The specifics of what each expert reviewed can

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 1   be found in their individual expert reports and are discussed in more detail—to the extent
 2   necessary—in their specific response briefs.
 3          Finally, none of Plaintiffs’ experts are simply “parroting” other experts’ opinions.
 4   Despite Bard’s criticisms, agreement among Plaintiffs’ experts does not hinder the
 5   reliability of their analysis because it is consistent with their own research. To the extent
 6   that Bard believes this agreement is suspect, it is free to cross-examine the experts on it at
 7   trial; the mere fact that many of Plaintiffs’ experts reach similar conclusions based on the
 8   same evidence is not grounds for exclusion.
 9          C.      Plaintiffs’ experts have not and will not opine on Bard’s state of mind
10                  or the ethics of its or its employees’ actions, but can discuss what
                    knowledge Bard possessed at a given time based on evidence in the
11                  record.
12          Bard asserts that several of Plaintiffs’ experts must not be permitted to offer
13   opinions concerning “corporate intent and ethics.” Specific examples are discussed in the
14   individual response briefs. But in general, expert testimony about what Bard knew at
15   various points in the development of its retrievable IVC filters is purely factual and based
16   on documentary evidence produced by Bard. For example, Plaintiffs’ experts may use
17   Bard internal documents to explain that Bard had notice from the Asch study in 2002 of
18   problems with its filters fracturing, or that it was aware of early reports of caudal
19   migrations with the G2 filters. These are statements of fact based on the record, not
20   improper “mens rea” or “corporate intent” opinions as Bard mischaracterizes them.
21          These types of arguments have already been rejected in this litigation. In Tillman
22   v. C.R. Bard, Inc., 96 F. Supp. 3d 1307 (M.D. Fla. 2015), a pre-MDL ruling from a
23   Florida IVC filter case, the district court permitted plaintiff’s engineering experts to testify
24   that Bard’s conduct was “incompetent” and “misleading” and expressly denied Bard’s
25   assertion that such opinions related to the company’s intent or state of mind:
26               [T]he Engineers also opine that it is misleading for Bard to claim
                 that G2 filters are twelve times more fatigue resistant than
27               Recovery filters, and upon consideration, the Court finds this
                 opinion to be permissible. [Citation omitted]. The Engineers
28               reviewed the testing done to support Bard’s claim and determined

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 1               that the claim is misleading based on their analysis of what the
                 testing actually showed. An opinion that Bard’s claim was
 2               misleading because it was not supported by the tests performed
                 does not relate to legal standards, nor is it a question of Bard’s
 3               state of mind or intent.
 4
     Id. at 1327 (emphasis added); cf. Phillips v. C.R. Bard, Inc., 3:12-CV-00344-RCJ, 2014
 5
     WL 7177256, **5-6 (D. Nev. Dec. 16, 2014) (denying, in pre-MDL Bard IVC filter case,
 6
     Bard motion to exclude plaintiff’s regulatory expert Suzanne Parisian, M.D.). The Court
 7
     should apply the same reasoning here.
 8
            Plaintiffs’ experts will not opine as to whether Bard’s conduct was “unethical,” nor
 9
     will they express opinions about what Bard’s intentions or motivations were. But they
10
     will discuss what facts Bard possessed and knew at various points in Bard’s development
11
     and marketing of its IVC filters, and whether it was misleading for Bard not to disclose all
12
     that it knew about its IVC filters and their risks with physicians and the public. There is
13
     nothing improper about such testimony.
14
            D.      Plaintiffs’ experts may reasonably base their testimony in part on
15                  Bard’s documents and employee testimony, and their opinions that rely
16                  on those documents and testimony will be helpful to the jury.

17          As the Court is aware, this litigation involves multiple iterations of a medical

18   device, the first of which went to market nearly fifteen years ago. The entire history of

19   Bard’s development of its IVC filters is of particular relevance because thousands of

20   plaintiffs allege they were injured by all of Bard’s IVC filter models and through a variety

21   of different failure modes (fracture, migration, perforation, etc.). The Bard documents

22   and witness deposition testimony describing that history are necessarily voluminous.

23   Plaintiffs’ experts—in particular their regulatory experts—must thoroughly describe this

24   history and the supporting evidentiary record to reach their conclusions. There is nothing

25   improper in doing so, and in fact such detail is necessary in order to lay a proper

26   foundation for their opinions.

27          Bard complains that Plaintiffs’ experts rely on a relatively small number of

28   representative documents from Bard’s production to support their opinions. This

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 1   argument is specious. In every litigation, each party selects a subset of documents
 2   produced in discovery to use (were it otherwise, trials would last years, and jurors would
 3   be overwhelmed by mountains of unhelpful exhibits). Notably, even Bard’s own experts
 4   have testified that the documents identified by Plaintiffs as important would have been
 5   useful to them in identifying their own opinions. See Exh. 1, Moritz Dep. at 31:22-33:2
 6   (Dr. Moritz inquired with Bard about the Bard internal documents that Plaintiffs’ experts,
 7   including Dr. Kessler, had reviewed but they were not provided to him). Moreover, Bard
 8   had the opportunity at their depositions to present all of Plaintiffs’ experts with its internal
 9   documents that it believes refutes the experts’ opinions. Bard will also have this
10   opportunity to do so at trial during cross-examination (to the extent these documents
11   exist), which is where this point should be made, if at all.
12          Many of the documents Plaintiffs will use at trial involve complex technical and
13   scientific information and require expertise to explain those exhibits and put them in their
14   proper context. It is appropriate for Plaintiffs’ experts to serve in that role. The Ninth
15   Circuit has recognized “the importance of expert testimony when an issue appears to be
16   within the parameters of a layperson’s common sense, but in actuality, is beyond their
17   knowledge.” U.S. v. Finley, 301 F.3d 1000 (9th Cir. 2002); see also Pooshs v. Philip
18   Morris, USA, Inc., 287 F.R.D. 543, 553 (N.D. Ca. 2012) (“To the extent that the
19   documents discuss complex scientific theories, and that information is within [the
20   plaintiffs’ epidemiologist’s] area of expertise, the court would permit the testimony.”).
21          Nor is there anything improper about providing a factual description of the long
22   and detailed history of the problems with Bard’s IVC filters in an expert’s report, despite
23   Bard’s “narrative” objections raised in several motions. The Ninth Circuit has permitted
24   expert witnesses to provide narratives and factual summaries of corporate documents that
25   help the jury understand complex issues and background information in similar litigation.
26   Staub v. Breg, Inc., No. CV 10-02038-PHX-FJM, 2012 WL 1078335, at *3 (D. Ariz. Mar.
27   30, 2012) (allowing the plaintiffs’ regulatory expert in medical device litigation to testify
28   at trial despite objections that her report was a narrative as long as expert provided “some

                                                   10
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 1   analysis, opinion, or expertise when testifying” and noting that narrative testimony
 2   objections were “best made at trial”); Johnson v. Wyeth LLC, No. CV 10-02690-PHX-
 3   FJM, 2012 WL 1204081, at *3 (D. Ariz. Apr. 11, 2012) (same); United States v. Newmont
 4   USA Ltd., No. CV-05-020-JLQ, 2007 WL 4856859, at *3 (E.D. Wash. Nov. 16, 2007)
 5   (the fact that expert’s opinion was “based upon a narrative of facts based upon his own
 6   review of documentary evidence already in the record” did not render expert’s testimony
 7   inadmissible). Nor is “Narrative” a proper basis for excluding a witness or their opinions
 8   under Rule 702 or Daubert. “The objection that testimony is ‘narrative’ is an objection to
 9   form, foundation or responsiveness, and must be presented at trial . . . .” In re Actos
10   (Pioglitazone) Products Liab. Litig., No. 12-cv-00064, 2014 WL 120973, at *10 (W.D.
11   La. Jan. 10, 2014); see also In re Yasmin & YAZ (Drospirenone) Mktg., Sales Practices &
12   Products Liab. Litig., No. 3:09-md-02100-DRH-PMF, MDL No. 2100, 2011 WL
13   6302287, at *13 (S.D. Ill. Dec. 16, 2011) (holding that objections to Dr. Kessler’s expert
14   testimony on the grounds that his “factual narratives and summaries of Bayer documents
15   are not the proper subject of expert testimony” should be decided in context of trial).
16          Finally, Bard mistakenly argues that Plaintiffs’ experts violate Rule 703 by
17   considering Bard’s documents and employee witness testimony obtained in this litigation
18   as a basis for their opinions because they do not typically rely on such data in the course
19   of their professional research. The law requires all experts to testify on technical matters
20   within confines imposed by rules of evidence and procedure, at times considering relevant
21   information provided to them through discovery. By necessity, legal testimony is
22   inherently different from what researchers do in the academic context. Rule 703 does not
23   bar experts from considering relevant and reliable evidence they have been made aware of
24   simply because they wouldn’t normally have access to it in their field of practice.
25   III.   CONCLUSION
26          Based on the foregoing reasons, Plaintiffs respectfully request that the Court deny
27   in full all of Bard’s motions to exclude Plaintiffs’ experts or their opinions.
28

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 1          RESPECTFULLY SUBMITTED this 27th day of September, 2017.
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11
                                   CERTIFICATE OF SERVICE
12
            I hereby certify that on this 27th day of September, 2017, I electronically
13
     transmitted the attached document to the Clerk’s Office using the CM/ECF System for
14
     filing and transmittal of a Notice of Electronic Filing.
15
                                                    /s/ Gay Mennuti
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